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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §           Case Number: 3:19-CR-00083-M
                                                  §
RUEL M HAMILTON (1),                              §
                                                  §
        Defendant.                                §
                                                  §

                                              ORDER

        On May 12, 2025, defense counsel filed a “supplemental response to questions” (ECF

 No. 523) from the hearing held on May 8, 2025. At the hearing, defense counsel raised the

 possibility of supplemental briefing and the Court responded that it did not require or want

 supplemental briefing. However, without seeking or obtaining leave of Court, counsel filed a

 supplemental response anyway.

        The Court ruled at the conclusion of the hearing on the matters that are the subject of the

 supplement, so there is no reason for it to have been filed, and if permission was sought, it would

 have been denied. To the extent the supplement is intended as a motion for rehearing, that

 request is denied.

        The Clerk of Court is directed to STRIKE ECF No. 523.

        SO ORDERED.

        May 13, 2025.


                                              BARBARA M. G. LYNN
                                              SENIOR UNITED STATES DISTRICT JUDGE
